IN THE UNITED STATES DISTRICT COURT 2020 JUL -7 AM lle 12
FOR THE WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

SiL*K US. DIST. BUR
aft 7

  

 

Complaint for Employment
Discrimination

Whkvin CC. (y)9938 om:

 

 

(Write the full name of each plaintiff who is filing Case No. HY A0-CV-CO 4 36 -L/yC,

this sik acc If the names of all the plawicis (to be filled in by the Clerk’ s Office)
cannot fit in the space above, please write “see

attached” in the space and attach an additional
page with the full list of names.)

-against-

Uviten taree h Skee

 

 

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

 

 

REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury. LX] ves Ll no

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I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name af laRv in) C. Mhonaecey
Street Address t. QO. Box BaF Lf

City and County Kans AS CC ity

State and ZipCode WMissour{ |!

Telephone Number _3/6 - 52] - OXO5

E-mail Address NONE

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. |]

Wier Duten trreeh Shevice

Job or Title
(if known)

Street Address

 

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address
(if known)

 

Defendant No. 2
Name DAN /, Er Y

Job or Title DisfAa Toh i. Sufe£e Visor
(if known)

sweet adaess 7a Teal Lu Thee of 9 Ne BAD
City and County LiJA L, TE £. Lo re Low A.

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State and Zip Code LOW a
Telephone Number

 

E-mail Address
(if known)

 

Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s)
is:
ad FERBUILSON FNC.
Street Address WheTJ LUIEL KANG Se. BLVD.
City and County Utz 7 Ex. Loo To. LIA

. —
State and Zip Code Zo UA

 

Telephone Number

 

II. Cause of Action

This action is brought for discrimination in employment pursuant to (check all that
apply):

iy Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e
to 2000e-17 (race, color, gender, religion, national origin).

(Note. In order to bring suit in federal district court under Title VIL, you
must first obtain a Notice of Right to Sue letter from the Equal
Employment Opportunity Commission.)

[ ] Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
§§ 621 to 634.

(Note: In order to bring suit in federal district court under the A ge
Discrimination in Employment Act, you must first file a charge with the
Equal Employment Opportunity Commission.)

[ ] Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
to 12117.

(Note: In order to bring suit in federal district court under the Americans
with Disabilities Act, you must first obtain a Notice of Right to Sue letter
from the Equal Employment Opportunity Commission. )

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Other federal law (specify the federal law):

 

Missouri Human Rights Act, Missouri Revised Statute § 213.055

Other state law (specify, if known):

(IO Oo

 

[| Relevant city or county law (specify, if known):

 

III. Administrative Procedures

A.

Did you file a charge of discrimination against Defendant(s) with the Equal
Employment Opportunity Commission or other federal agency?

A ves Date filed: CLT 220 7

No

 

 

 

 

Attach copy of the charge to this Complaint

Have you received a Notice of Right-to-Sue Letter from the Equal Employment
Opportunity Commission?

4 Yes cl No

If yes, please attach a copy of the letter to this Complaint.

 

 

 

 

Did you file a charge of discrimination against Defendant(s) with the Missouri
Commission on Human Rights?

es Date filed:
No

 

Attach copy of the charge to this Complaint

Have you received a Notice of Right-to-Sue Letter from the Missouri Human
Rights Commission?

TL ves tT] No

If yes, please attach a copy of the letter to this Complaint.

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E. If you are claiming age discrimination, check one of the following:

60 days or more have passed since I filed my charge of age discrimination with the
Equal Employment Opportunity Commission.

 

| fewer than 60 days have passed since I filed my charge of age discrimination with
the Equal Employment Opportunity Commission

IV. Statement of Claim

A. The discriminatory conduct of which I complain in this action includes (check all
that apply):

~Failure to hire me.

|

|| Termination of my employment.
Failure to promote me.

/ Failure to accommodate my disability.

 

VL _ Unequal terms and conditions of my employment.

ws 7 Retaliation.

IY ~Harassment/Hostile Work Environment /
70 Other acts (specify): IN WLERANCE

 

 

 

(Note: Only those grounds raised in the charge filed with the Equal
Employment Opportunity Commission can be considered by the federal
district court under the federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on the
following date(s):

Dec. 20/18 Thuh PEBURALY 20/9
C. I believe that defendant(s) (check one):

[| is/are still committing these acts against me.
[| is/are not still committing these acts against me.

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D. Defendant(s) discriminated against me based on my (check all that apply and

explain):

color

gender/sex
religion
q national origin

age. My year of birth is . (Give your year of birth
only if you are asserting a claim of age discrimination.)

 

 

 

 

disability or perceived disability (specify disability)

LJ

 

E. Write a short and plain statement of FACTS that support your claim. Do not
make legal arguments. You must include the following information:

¢ What happened to you?

* What injuries did you suffer?

* Who was involved in what happened to you?

* How were the defendants involved in what happened to you?
¢ Where did the events you have described take place?

* When did the events you have described take place?

If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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CALLED FuCK/) STP ASS /
IN TRE OFFICE |”

QUEL ThE" phone /

LEC. 2018 ' FFB. 20/7

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VI.

 

 

 

Relief

As relief from the allegations of discrimination as stated above, Plaintiff prays that the court
grant the following relief to Plaintiff: (check any and all that apply)
Defendant be directed to employ Plaintiff
Defendant be directed to re-employ Plaintiff
efendant be directed to promote Plaintiff
fendant be directedto CL£4K ALL NEA TVE MARKERS |
onetary damages (please explain: ALL 6BackK~- fAY FROM this.
As additional relief to make Plaintiff whole, Plaintiff seeks (please specify and
explain):
ALL Bick- fay FROM Sus Pes iON AND TERMINATION i
Emotional |payn From Tris Hostility AAD
SUFFERING

Certification ‘id | Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk’s Office may result in the dismissal of my case.

Date of signing: @- [1,20 20 Koadlie

Signature of Plaintiff A Lith ef . Aine Ek
Printed Name of Plaintiff Wan vin hd é leo DBELLZ

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